Case 1-25-4194 /-nnl

Doc 1 Filed VO/Oli25

RM mcee (eT m -ier- eH

 

United States Bankruptcy Court for the:

District of

Case number (if known):

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

(State)
Chapter d

entered Vo/Olizo LO710749

A 10:0) Bheck if this is an

amended filing

2023 JUN - |

06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

Official Form 201

AY% IJePhersm LLCO

 

 

 

 

 

Principal place of business

Iw) Fralton S}-

Mailing address, if different from principal place
of business

 

 

 

 

Number Street Number Street
P.O. Box
Brookiyn ny 232
City ‘ State | ZIP Code City State ZIP Code

King,

County

 

Location of principal assets, if different from
principal place of business

 

Number Street

 

City State ZIP Code

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 1
Case 1-25-41ly94/-nnl Docl Filed OO/Ol/zs Entered Vo/Olizo 101049

Debior Q 2 Jere Y¥SO” LLC Case number ( known),

 

 

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor") must
check the second sub-box.

Official Form 201

corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CI Partnership (excluding LLP)
C) Other. Specify:

 

A. Check one:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Lingle Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q) Railroad (as defined in 11 U.S.C. § 101(44))

UC} Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q) Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:

Q) Tax-exempt entity (as described in 26 U.S.C. § 501)

vestment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CJ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

COS 3

 

s. one:
Chapter 7
Ly Chapter 9

QQ Chapter 11. Check all that apply:

(J The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 14 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. if this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, foliow the procedure in 11 U.S.C.

§ 1116(1)(B).

QO) Apian is being filed with this petition.

L) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

LJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

L) Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-25-4194 /-nnl

Debtor

AS SEH VZ6y LLT

Doc 1

 

 

Name

9. Were prior bankruptcy cases
filed by or against the debtor

Yin

within the last 8 years? Ci Yes. District When
MM/ DD/YYYY
If more than 2 cases, attach a a
separate list. District When
MM / DD/YYYY
10. Are any bankruptcy cases B No
pending or being filed by a
business partner or an Li Yes. Debtor
affiliate of the debtor? District
List all cases. If more than 1,
attach a separate list. Case number, if known
11. Why is the case filed in this Check all that apply:

district?

Case number (if known)

 

 

 

 

 

Filed OO/OliZz5 Entered Vo/Olizo 1010749

Case number

Case number

Relationship

When a
MM / DD /YYYY

Qi debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

CI No

Dbres. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

CI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CJ It needs to be physically secured or protected from the weather.

CJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securitiesrelated

assets or other options).

CJ Other

 

Where is the property?

G% Jeflerron Aye

 

 

Number Street
fZroo0lqun NY L) 20
City State ZIP Code

Is the property insured?

Oo

L) Yes. insurance agency

 

Contact name

 

Phone

 

ee Statistical and administrative information

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 1-25-4194 /-nnl

Debtor

 

Name

Case number (sf known)

Doc il Fned Vo/O1/z5 Entered OO/Ol/25 LOLUI49

 

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

Check one:

Qrinds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

Q-rag

C] 50-99
C) 100-199
L) 200-999

L) $0-$50,000

LI $50,001-$100,000
LJ $100,001-$500,000
(3 $500,001-$1 million

CL) $0-$50,000

L) $50,001-$100,000
CI $100,001-$500,000
L} $500,001-$1 million

CL} 1,000-5,000
L} 5,001-10,000
Q) 10,001-25,000

4-57 000,001-$10 million

CY $10,000,001-$50 million
LJ $50,000,001-$100 million
LJ $100,000,001-$500 million

(2-8-000,001-$10 million

C) $10,000,001-$50 million
CL} $50,000,001-$100 million
LJ $100,000,001-$500 million

CJ 25,001-50,000
LJ 50,001-100,000
LJ More than 100,000

C] $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
C) More than $50 billion

L $500,000,001-$1 billion

CY $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
L] More than $50 billion

ee Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Ara Yo

Printed name

 

Signature of authorized representatve of defor

Title MO ray Mena /

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1-25-41ly94/-nnl Docl Filed OO/Ol/zs Entered Vo/Olizo 101049

Debtor O71 S Sor LLC Case number (if known)

 

 

Name

 

 

 

 

 

 

 

 

18. Signature of attorney xX Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 5
Case 1-25-41ly94/-nnl Docl Filed OO/Ol/zs Entered Vo/Olizo 101049

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.

Chapter

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated:

Wire

Debtok

 

Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rey. HAS
Case 1-25-41ly94/-nnl Docl Filed OO/Ol/zs Entered Vo/Olizo 101049

Matrix

 

93 JEFFERSON STREET, Brooklyn NY 11206
Debtor: 93 Jefferson LLC
Mortgage Foreclosure Index# 523543/2021
Wilmington Savings Fund Society FSB
Foreclosure attorney:

Roach & Lin, PC
6851 JERICHO TPKE STE 185
SYOSSET, NY 11791-4460

 

 
